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                                  UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEW JERSEY


     RAMSEY ABDALLAH, individually and as           DOCKET NO. 2:14-C V-01050 (JLL)(MAH)
     Guardian for RIYANNA ABDALLAH; and
     GHADEER ABBASI, individually and as            NOTICE OF’ DISMISSAL
     Guardian for R1YANNA ABDALLAH,
                                                    Document Electronically Filed
                   Plaintiffs,

    V.


    JETBLUE AIRWAYS CORPORATION,
    SABRE AIRLINE SOLUTIONS, and JOHN
    DOES 1-10,

                   Defendants.



           PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiffs

    hereby voluntarily dismiss with prejudice Count Five of the Second Amended Complaint

    (Docket No. 64) as against Defendant Sabre Airline Solutions only.



    Dated: August 3, 2015
                                                 Is! Ravinder S. Bhalla
                                                 Ravinder S. Bhalla, Esq.
                      —
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